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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No.: 19-cv-00874-RBJ-MEH

   WARNER RECORDS INC., et al.,

          Plaintiffs,

   v.

   CHARTER COMMUNICATIONS, INC.,

          Defendant.



        PLAINTIFFS’ OPPOSITION TO MOTION FOR LEAVE TO FILE BRIEF AMICI
                     CURIAE OF COPYRIGHT LAW PROFESSORS



          Plaintiffs Warner Records Inc., et. al. (“Plaintiffs”) hereby oppose the motion for leave to

   file an amicus brief filed by a group of law professors (the “Proposed Amici”) in this action on

   November 11, 2019. Dkt. 83. The Proposed Amici write in support of Defendant Charter

   Communications, Inc.’s Objection to the Recommendation by Magistrate Judge to Deny

   Charter’s Motion to Dismiss Plaintiff’s Claim for Vicarious Liability (Dkt. 82-1) (the

   “Objection”), arguing that “[u]nder the relaxed pleading standard adopted by the

   Recommendation, it would be difficult or impossible for any ISP accused of vicarious

   infringement to have the claims dismissed at the 12(b)(6) stage.” Dkt. 83-1 at 7. In making

   these arguments, however, the Proposed Amici repeat arguments that Charter’s counsel is both

   capable of making and has already made; improperly advocate for Charter’s position, effectively

   serving as an “end run” around this Court’s page limitations; and address a topic about which the
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   Proposed Amici’s signatories are not experts—federal pleading standards. The Court should not

   permit this amicus appearance.

                                             ARGUMENT

          “An amicus curiae’s purpose is to submit briefing that will assist the court, but not

   duplicate or advocate for a party in the suit.” Ctr. for Biological Diversity v. Jewell, No. 16-

   CV-01932-MSK-STV, 2017 WL 4334071, at *1 (D. Colo. May 16, 2017) (citing Newark

   Branch, N.A.A.C.P. v. Town of Harrison, 940 F.2d 792, 808 (3d Cir. 1991)) (emphasis added).

   Courts permit amicus appearances at their discretion, and when determining whether or not to

   grant leave, courts consider the following factors:

                  (1) whether the proposed amicus is a disinterested entity; (2)
                  whether there is opposition to the entry of the amicus; (3) whether
                  counsel is capable of making arguments without the assistance of
                  an amicus; (4) the strength of the information and argument
                  presented by the potential amicus curiae’s interests; and, perhaps
                  most importantly (5) the usefulness of information and argument
                  presented by the potential amicus curiae to the court.

   Medina v. Catholic Health Initiatives, No. 13-CV-01249-REB(KLM), 2015 WL 13683647, at *1

   (D. Colo. Oct. 7, 2015). Accordingly, courts generally give leave to file an amicus brief “when a

   party is not represented competently or is not represented at all . . . or when the amicus has

   unique information or perspective that can help the court beyond the help that lawyers for the

   parties are able to provide.” Id. (quoting Ryan v. Commodity Futures Trading Commission, 125

   F.3d 1062, 1063 (7th Cir. 1997)). “Otherwise, leave to file an amicus brief should be denied.”

   Id.

          In this case, each of the Medina factors weighs against permitting an amicus appearance,

   and therefore the motion for leave should be denied.



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          A.      The Proposed Amici Are Not Disinterested, and Plaintiffs Oppose Their
                  Submission.

          The first and second Medina factors—the Proposed Amici’s disinterestedness and

   whether there is opposition to the submission—do not support permitting this amicus

   appearance. First, Plaintiffs oppose the entry of the amicus. Second, there is basis to doubt

   Proposed Amici’s disinterestedness. For example, one of the Proposed Amici is the Chairperson

   of the Board of the Electronic Frontier Foundation (“EFF”), a nonprofit digital rights group that

   often advocates against the interests of copyright owners. At a minimum, the Proposed Amici

   should be required to disclose any employment, consultancy, or other relationships with

   defendants and other parties (including, e.g., other ISPs and similar technology companies,

   industry organizations, trade associations) that may have interests in the outcome of this action,

   which could affect the disinterestedness of the Proposed Amici. Liberty Lincoln Mercury, Inc. v.

   Ford Marketing Corp., 149 F.R.D. 65, 82 (D.N.J. 1993). (“When the party seeking to appear as

   amicus curiae is perceived to be an interested party or an advocate of one of the parties to the

   litigation, leave to appear as amicus curiae should be denied.”).

          B.      Charter Is Capable of Making—and Does Make—the Arguments Advanced
                  in the Proposed Amici’s Brief.

          The third Medina factor also counsels against leave because this case involves

   sophisticated parties who are represented by counsel fully capable of raising the necessary

   arguments in this case. And, importantly, in light of the stakes in this matter, the parties are also

   highly incentivized to do so. In this way, this case is directly analogous to Capitol Records, LLC

   v. Redigi Inc., No. 12-CV-0095-RS (S.D.N.Y), a copyright case in which the court denied

   numerous amicus briefs, including one, like the proposed submission in this case, purporting to



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   underscore the “far-reaching effects of this case on the development of digital technology and the

   use of that technology by the public.” See Capitol Records, LLC v. Redigi Inc., No. 12-CV-

   0095-RS, Dkt. 70 at 1 (S.D.N.Y July 30, 2012). The court there found the amicus brief

   unnecessary, and therefore inappropriate, because “the parties are fully capable of raising these

   arguments themselves—and have every incentive to do just that.” Id.; see also Medina, 2015

   WL 13683647, at *1 (denying an amicus appearance because the parties were adequately

   represented by counsel). The same is true here.

          Indeed, Charter’s ability to raise the arguments identified by the Proposed Amici is

   undeniable because Charter has already raised them. For example, the Proposed Amici move to

   argue that “[u]nder the relaxed pleading standard adopted by the Recommendation, it would be

   difficult or impossible for any ISP accused of vicarious infringement to have the claims

   dismissed at the 12(b)(6) stage.” Dkt. 83-1 at 7. On the very first page of its Objection,

   however, Charter argues that “the Recommendation threatens to open the floodgates for massive

   liability against ISPs for merely advertising and making available high speed internet to the

   general public.” Dkt. 82-1 at 1. The unquestionable parallels in the Proposed Amici’s argument

   and Charter’s argument underscore that defense counsel does not require the assistance of the

   Proposed Amici.1 To the contrary, the only assistance provided by the proposed amicus brief is


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           Examples of overlap abound. For example, both submissions contend that Charter is
   shielded from liability because of the “vast array” of uses and services its Internet provides.
   Compare Dkt. 82-1, at 10 (“[T]he vast array of uses and services available to Charter’s
   customers through its high speed internet offerings likewise renders any ‘draw’ from
   infringement ‘relatively insignifiant.’”) with Dkt. 83-1, at 4 (“There is no plausible basis to
   believe that ‘the value of [Charter’s] service likes in providing access to infringing material,’
   rather than in providing access to the Internet’s vast array of information, platforms,
   communications, tools, services, functionalities, and more than all subscribers value in varying
   degrees and for varying reasons.”). Similarly, both submissions seek to paint Plaintiffs’


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   to functionally help Charter circumvent this Court’s page limits and reargue the same points. See

   Voices for Choice v. III. Bell Tel. Co., 339 F.3d 542, 544 (7th Cir. 2003) (amicus briefs should

   not be used “to make an end run around court-imposed limitations on the length of parties’

   briefs”). Accordingly here, where the amicus brief explicitly lacks “insights not available from

   the parties,” the motion for leave should be denied. Lehman XS Tr., Series 2006-GP2 v.

   Greenpoint Mortg. Funding, Inc., No. 12-CV-7935-ALC, 2014 WL 265784, at *2 (S.D.N.Y. Jan.

   23, 2014).

          C.      The Proposed Amici’s Brief Misconstrues the Law and Plaintiffs’ Allegations.

           The fourth Medina factor—the strength of the information and argument presented—

   similarly counsels against leave because the arguments raised by the Proposed Amici do not

   provide any expert guidance on the issues currently before the Court. Critically, most of the

   arguments raised by the Proposed Amici pertain not to copyright law—the asserted expertise of

   the amicus brief’s signatories—but to the appropriate pleading standard under Federal Rule of

   Civil Procedure 12(b)(6). Copyright professors are not professors of civil procedure, they do not

   study the intricacies of federal pleading standards, and they offer no specialized insight into the

   implications of Twombly, Iqbal, and the like. Accordingly, the Proposed Amici offer only a

   weak and redundant opinion on a subject about which the Court and the parties are well-versed.

   See Am. Bird Conservancy v. Harvey, 232 F. Supp. 3d 292, 299 (E.D.N.Y. 2017) (denying an

   amicus brief in support of a 12(b)(6) motion because the proposed amici, a special interest group,



   allegations as “conclusory” and insufficient. Compare Dkt. 82-1, at 11 (characterizing Plaintiffs’
   allegations as “entirely conclusory and speculative”) with Dkt. 83-1, at 6 (characterizing
   Plaintiffs’ allegations as “threadbare recitals” supported “by mere conclusory statements”).
   Tellingly, the Proposed Amici cite only one case that is not already cited in Charter’s Objection.


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   offered no expertise on procedural issues and “what remain[ed was] a straightforward appeal to

   the familiar pleading standards announced in Twombly and Iqbal, which the parties’ counsel are

   more than capable of presenting to the Court without [the amici’s] help”).

          The substance of the Proposed Amici’s brief further demonstrates the weakness of their

   arguments. As a preliminary matter, the Proposed Amici appear to misunderstand the procedural

   posture of this case. In Ellison v. Robertson, 357 F.3d 1072 (9th Cir. 2004), Perfect 10, Inc. v.

   Giganews Inc., 847 F.3d 657 (9th Cir. 2017), and BMG Rights Mgmt. (US) LLC v. Cox

   Commc'ns, Inc., 199 F. Supp. 3d 958 (E.D. Va. 2016)—all cases relied upon by the Proposed

   Amici and discussed by Charter in its Objection to the Magistrate Judge’s Recommendation—the

   courts did not dismiss vicarious liability claims at the pleading stage. To the contrary, the

   Ellison and Perfect 10 courts affirmed grants of summary judgment with respect to the respective

   plaintiffs’ vicarious copyright infringement claims only after those plaintiffs failed to adduce

   evidence in discovery that showed that users were drawn to the defendants’ respective services

   because of the availability of infringing content. See Ellison, 357 F.3d at 1079 (“We note that

   there is no evidence that indicates that AOL customers either subscribed because of the available

   infringing material or canceled subscriptions because it was no longer available.”); Giganews,

   847 F.3d at 674 (“[Plaintiff] Perfect 10 does not proffer evidence showing that [Defendant]

   Giganews attracted subscriptions because of the infringing Perfect 10 material.”). Going a step

   further, the Court in Cox permitted the vicarious liability claims to proceed to trial because, at

   the summary judgment phase, there was sufficient evidence of the defendant’s direct financial

   benefit to present a triable question of fact. See BMG Rights Mgmt. (US) LLC v. Cox Commcn’s,

   Inc., 149 F. Supp. 3d 634, 676 (E.D. Va. 2015) (holding that based on evidence adduced in



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   discovery, “[a] reasonable trier of fact could conclude that some percentage of Cox customers

   were drawn to Cox’s internet service at least in part to download music, including BMG’s

   copyrighted works, using BitTorrent”). Plaintiffs should be afforded the same right of discovery

   that these plaintiffs had, and the Proposed Amici’s misstatement of the standards applicable at

   this stage of the case demonstrates why their perspective will not be useful to the Court.2

          The Proposed Amici’s arguments regarding “practical” concerns are similarly weak. The

   Proposed Amici argue that they offer the Court a more “historical” and “comprehensive lens on

   the issues than the parties do.” Dkt. 83 at 3. Yet they fail to discuss any historical events,

   statistics, data, or studies regarding ISPs, BitTorrent, or copyright infringement in the Internet

   era to support such a claim. Instead, they merely echo Charter’s speculation on potential future

   consequences if Plaintiffs’ vicarious liability claim proceeds. See, e.g., Dkt. 83-1 at 7- 9

   (speculating on what ISPs “could be” required to do should Plaintiffs’ claim proceeds). This

   underscores the weakness of the Proposed Amici’s legal and “practical” arguments.

          D.      The Proposed Amici’s Brief Is Duplicative of Charter’s Objection and
                  Therefore Not Useful.

          Fifth and finally, the unquestionable overlap in the arguments raised by Charter and the

   Proposed Amici, and the fact that the Proposed Amici address legal doctrine outside the expertise

   of the signatories, illustrate the marginal utility that the Proposed Amici would provide the Court.

   On balance, the Proposed Amici fail to serve the “limited purposes for which an amicus curiae


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           The Proposed Amici misleadingly cite Cox for the proposition that “the fact that ‘a certain
   percentage of its subscribers use peer-to-peer software to acquire music’” and the fact that an
   ISP’s advertisements “promote[] fast download speeds” do not establish a direct financial
   benefit. (Dkt. 83-1, at 5 n.2.) The Amici omit that these statements were made in the context of
   a motion for judgment notwithstanding verdict, which is a radically different standard than the
   one that applies at the pleading stage. See Cox, 199 F. Supp. 3d at 992.


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   might be useful,” Lehman XS, 2014 WL 265784, at *2 (S.D.N.Y. Jan. 23, 2014), and therefore

   the motion for leave should be denied, see WildEarth Guardians v. Lane, No. 12-CV-118-LFG-

   KBM, 2012 WL 10028647, at *4 (D.N.M. June 20, 2012) (denying leave to file amicus brief

   where the “proposed amicus brief [did] not bring novel or unique information to the table

   regarding the pertinent legal and factual issues”).

                                            CONCLUSION

          For the foregoing reasons, the Court should deny the Proposed Amici’s motion for leave

   to file an amicus brief.




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                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies on this 15th day of November, 2019, a true and correct

   copy of the foregoing Plaintiffs’ Opposition to Motion for Leave to File Brief Amici Curiae of

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